Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 1 of 20 PageID #: 331



                        UNITED STATES DISTRICT COURT                               b
                        WESTERN DISTRICT OF LOUISIANA
                            ALEXANDRIA DIVISION

   RASHOD L. JAMES                         CIVIL ACTION NO. 1:16-CV-00138

   VERSUS                                  CHIEF JUDGE DRELL

   K. LACROIX, et al.                      MAGISTRATE JUDGE PEREZ-MONTES


       SUPERSEDING AND AMENDING REPORT AND RECOMMENDATION

        Defendants filed a motion for clarification as to the defense of qualified

  immunity (Doc. 44), which is addressed below. This Report and Recommendation

  supersedes the previously filed Report and Recommendation (Doc. 42).

  I.    Background

        Before the Court is a complaint filed pursuant to Bivens v. Six Unknown

  Named Agents of the Federal Bureau of Narcotics, 403 U.S. 388 (1971), and the

  Federal Tort Claims Act ("FTCA"), 28 U.S.C. §§ 2671-2680, by pro se plaintiff Rashod

  James (“James”). The named defendants are Mike D. Carvajal (warden of the United

  States Penitentiary in Pollock, Louisiana (“USP-Pollock”)), K. LaCroix (a correctional

  officer employed at USP-Pollock), Bureau of Prisons (“BOP”) Regional Director John

  Dee (located in Dallas, Texas), and the United States of America. James contends

  Defendants failed to protect him from an assault and attempted sexual assault by

  another inmate after he notified Officer LaCroix and asked for protection. James

  seeks compensatory and punitive damages and injunctive relief. James is presently

  incarcerated in USP-Florence in Florence, Colorado.
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 2 of 20 PageID #: 332



        Defendants answered the complaint (Doc. 21) and filed a Motion to Dismiss for

  lack of jurisdiction (Doc. 33).    James responded to that motion (Docs. 36, 40).

  Defendants’ Motion to Dismiss is now before the Court for disposition.

        James alleges that on June 26, 2015, he activated his in-cell duress alarm, to

  which LaCroix responded (Doc. 1). James contends he told LaCroix that his cellmate

  was threatening to kill him if he did not perform oral sex on him, but LaCroix

  responded that she “didn’t care” and said there were “no open cells,” then walked

  away (Doc. 10). James contends his cellmate persisted in his demands, and notified

  both LaCroix and Carvajal, on June 27, 2015, that he was being sexually harassed

  (Doc. 1). James was attacked by his cellmate on June 28, 2015, causing James to

  suffer a broken tooth, lacerations inside his mouth, a bloodied nose, contusions to his

  face and head, and injuries to his ribs and spine (Doc. 1).

        James filed an informal resolution attempt on June 28, 2015, asking to have

  his tooth repaired and contending he had written three sick calls (Doc. 1-1, p. 1/4).

  On July 15, 2015, James filed a grievance alleging LaCroix had failed to take any

  steps to protect him from an assault and attempted sexual assault by his cellmate

  (Doc. 1-1, p. 2/14). The BOP responded there was no evidence to support his claim

  and that SHU staff was required to move him if his safety was threatened by his

  cellmate (Doc. 1-1, p. 3/14; 33-5, p. 55/67).   The BOP did not mention the fact that

  an attempted sexual assault was involved (Doc. 1-1, p. 3/14; 33-5, p. 55/67).

        James filed a second step grievance to the regional office, again alleging his

  cellmate had sexually harassed him (Doc. 1-1, p. 4/14).        The Regional Director



                                              2
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 3 of 20 PageID #: 333



  assigned the case for investigation pursuant to the Program Statement 5324.12,

  Sexually Abusive Behavior Prevention and Intervention Program (Doc. 1-1, p. 5/14).

  The investigator interviewed LaCroix, and she denied that James had notified her of

  any issues with his cellmate (Doc. 33-5, p. 59/67).

         James also filed a federal tort claim for personal injury damages for the assault

  (Doc. 1-1, p. 6/14). James did not mention the sexual component of the assault, and

  the BOP treated the event as if it was an ordinary assault and fight (Doc. 33-5, p.

  65/67). The BOP denied James’ tort claim due to lack of proof that he had complained

  to LaCroix, and the fact that he was being given dental and medical treatment (Doc.

  11, pp. 2-3).

         James was transferred to USP-Florence in November 2015 (Doc. 1-1, p. 8/14).

  II.    Law and Analysis

         A.       The United States’ Motion to Dismiss James’s FTCA claim should be
                  denied.

                  1.   Standards Governing the Rule 12(b)(1) Motion to Dismiss.

         Lack of subject matter jurisdiction may be found on any one of the following

  bases: (1) the complaint alone; (2) the complaint supplemented by undisputed facts

  evidenced in the record; or (3) the complaint supplemented by undisputed facts plus

  the Court=s resolution of disputed facts.             See Robinson v. TCI/US West

  Communications, Inc., 117 F.3d 900 (5th Cir. 1997).              Where subject matter

  jurisdiction is being challenged, the trial court is free to weigh the evidence and

  resolve factual disputes in order to satisfy itself that it has the power to hear the case.




                                              3
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 4 of 20 PageID #: 334



  No presumptive truthfulness attaches to the plaintiff's allegations. Montez v. Dep't

  of Navy, 392 F.3d 147, 149 (5th Cir. 2004).

                 2.    The discretionary function exception to immunity does not apply.

           The United States contends this Court lacks subject matter jurisdiction over

  James’s FTCA claim because the United States has not waived sovereign immunity

  where a federal employee exercises a discretionary function or duty.

           The FTCA waives the United States’ sovereign immunity for the torts of

  federal employees by granting federal district courts jurisdiction over suits for

  damages “caused by the negligent or wrongful act or omission of any employee of the

  Government. . . .” See 28 U.S.C. § 1346(b); see also Longino v. U.S. Dept. of Agric.,

  912 F.Supp.2d 424, 429 (W.D. La. 2012) (citing Linkous v. United States, 142 F.3d

  271, 275 (5th Cir. 1998)). Under the FTCA, the United States may be liable if a

  private person would be liable to the claimant in accordance with the law of the place

  where the act or omission occurred. See Longino, 912 F.Supp.2d at 429 (citing United

  States v. Olson, 546 U.S. 43, 44 (2005)); see also 28 U.S.C. §§ 1346(b)(1), 2674.

  However, the FTCA also limits the United States’s liability in certain respects. See

  Aretz v. U.S., 604 F.2d 417, 426 (5th Cir. 1979), on rehearing, 635 F.2d 485 (5th Cir.

  1981).

           The waiver of sovereign immunity under the FTCA does not apply to

  "discretionary functions." 28 U.S.C. 2680(a). The government is not liable for any

  claim arising from the exercise of discretion in the performance of governmental




                                             4
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 5 of 20 PageID #: 335



  functions or duty, whether or not the discretion involved is abused. See Sutton v.

  U.S., 819 F.2d 1289 (5th Cir. 1987).

        To determine if the discretionary function exception to the FTCA applies, a

  court must consider first whether the challenged conduct involves an element of

  judgment or choice. See Mitchell v. United States, 225 F.3d 361, 363 (3d Cir. 2000),

  writ den., 532 U.S. 1007 (2001) (citing United State v. Gaubert, 499 U.S. 315, 322

  (1991)). Under step one of the analysis, the discretionary function exception does not

  apply if the challenged action in fact violated a federal statute, regulation, or policy.

  If a statute, regulation, or policy leaves it to a federal agency to determine when and

  how to take action, the agency is not bound to act in a particular manner and the

  exercise of its authority is discretionary. Gibson, 809 F.3d at 812 (citing Spotts v.

  United States, 613 F.3d 559, 567 (5th Cir. 2010)). To be non-discretionary, a policy

  must prescribe a specific course of action for an agency or employee to follow. Gibson,

  809 F.3d at 812 (citing Lopez v. U.S. Immigration and Customs Enforcement, 455

  Fed.Appx. 427, 433 (5th Cir. 2011), cert. den., 133 S.Ct. 138 (U.S. 2012)). Second,

  even if the challenged conduct involves an element of judgment, the court must

  determine “whether that judgment is of the kind that the discretionary function

  exception was designed to shield.” See Mitchell, 225 F.3d 361, 363 (citing Gaubert,

  499 U.S. at 322–23).

        This case is governed by statutes, BOP policy, and rules implemented pursuant

  to the Prison Rape Elimination Act (“PREA”). See 28 C.F.R. §§ 115.5, et seq.; 42

  U.S.C. §§ 15601, et seq.; BOP Program Statement (“PS”) 5324.12 (eff. 6/4/2015).



                                             5
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 6 of 20 PageID #: 336



        Generally, the United States owes a duty of care to federal prisoners under 18

  U.S.C. § 4042, which states, in relevant part, that the BOP shall “provide for the

  safekeeping, care, and subsistence of all persons charged with or convicted of offenses

  against the United States.” See 18 U.S.C. § 4042(a)(2). Other relevant regulations

  are 28 C.F.R. § 541.10(a) (relating to disciplinary action against inmates) and 28

  C.F.R. § 541.22(a) (regarding placements in administrative segregation). The United

  States argues in its brief that those regulations afford the BOP discretion in matters

  of prison security, inmate discipline, and the classification and housing of inmates.

        In the PREA, Congress required the Attorney General to promulgate

  regulations concerning sexual abuse prevention which would be binding upon the

  Federal Bureau of Prisons. See 42 U.S.C. § 15607. Statutes were created, 28 C.F.R.

  §§ 115.5, et seq. (“Prisons Rape Elimination Act National Standards”), and BOP

  Program Statement (“PS”) 5324.12, Sexually Abusive Behavior Prevention and

  Intervention Program, went into effect on June 24, 2015 to further the goals of the

  PREA. PS 5324.12 provides a written policy for dealing with sexual abuse and sexual

  harassment, including inmate against staff, inmate against inmate, and staff against

  inmate.   PS 5324.12 further provides that (i) the BOP has a “zero tolerance”

  philosophy in regard to sexually abusive behavior, (ii) allegations of sexually abusive

  behavior will receive prompt intervention upon report, and (iii) perpetrators of

  sexually abusive behavior will be disciplined and, when appropriate, prosecuted. See

  Riascos-Hurtado v. United States, 2015 WL 3603965, at *2 (E.D.N.Y. 2015).




                                            6
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 7 of 20 PageID #: 337



        BOP rules were implemented, also effective June 24, 2015 pursuant to PS

  5324.12, that follow each of the statutory regulations. BOP staff are required to

  follow those rules when sexually abusive behavior occurs. Pursuant to those rules,

  BOP staff is required to provide security to any inmate who alleges that he/she is the

  victim of sexually abusive behavior.      Relevant statutes in 28 C.F.R. and the

  implementing BOP rules are:

        § 115.61, Staff and agency reporting duties– “The agency shall require
        all staff to report immediately and according to agency policy any
        knowledge, suspicion, or information regarding and incident of sexual
        abuse or sexual harassment that occurred in a facility.” The rule at
        USP-Pollock states that all staff must report information concerning
        incidents or possible incidents of sexual abuse or sexual harassment to
        the Operations Lieutenant, and provide a written follow-up
        memorandum to document the report. The Operations Lieutenant must
        notify the PREA Compliance Manager.

        § 115.62, Agency protection duties–“When an agency learns that an
        inmate is subject to a substantial risk of imminent sexual abuse, it shall
        take immediate action to protect the inmate.” The rule at USP-Pollock
        provides that, in cases where the alleged perpetrator is another inmate,
        the Operations Lieutenant is notified immediately and immediately
        safeguards the inmate.

        § 115.64, Staff first responder duties–“Upon learning of an allegation
        that an inmate was sexually abused, the first security staff member to
        respond to the report shall be required to: (1) Separate the alleged victim
        and abuser: (2) Preserve and protect any crime scene until appropriate
        steps can be taken to collect any evidence;….” The USP-Pollock rule
        provides “[t]he staff first responder must preserve the crime scene. SIS
        staff are responsible for collecting information/evidence….”

        § 115.65, Coordinated response–“The facility shall develop a written
        institutional plan to coordinate actions taken in response to an incident
        of sexual abuse, among staff first responders, medical and mental health
        practitioners, investigators, and facility leadership.” The USP-Pollock
        rule sets forth initial response steps which include: (1) All staff report
        incidents of sexual abuse to the Operations Lieutenant (see § 115.61);
        (2) The Operations Lieutenant immediately safeguards the inmate (see

                                            7
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 8 of 20 PageID #: 338



        §§ 115.43, 115.62), (3) the Operations Lieutenant promptly refers all
        inmates reported to be the victim of sexually abusive behavior to the
        Health Services Unit; and (4) the Operations Lieutenant promptly refers
        all inmates reported to be the victim of sexually abusive behavior to
        Psychology Services for assessment.

        Thus, there are now BOP rules that provide a non-discretionary and specific

  course of action for the staff at USP-Pollock to follow when reporting and dealing with

  inmate complaints of sexual abuse and harassment. Because James alleges that

  LaCroix and Carvajal violated BOP policy and rules when they failed to follow the

  BOP procedures for handling his complaint of sexual harassment, the discretionary

  function exception to liability under the FTCA is not applicable. The United States’

  motion to dismiss James’ FTCA claim pursuant to the discretionary function

  exception to liability should be denied.

        B.     Defendants’ motion for summary judgment should be denied in part and
               granted in part.

               1.     Standards governing the Motion for Summary Judgment.

        Under Rule 56 of the Federal Rules of Civil Procedure, a court must grant

  summary judgment “if the movant shows that there is no genuine dispute as to any

  material fact and the movant is entitled to judgment as a matter of law.” Paragraph

  (e) of Rule 56 also provides the following:

        If a party fails to properly support an assertion of fact or fails to properly
        address another party's assertion of fact as required by Rule 56(c), the
        court may:
        (1) give an opportunity to properly support or address the fact;
        (2) consider the fact undisputed for purposes of the motion;
        (3) grant summary judgment if the motion and supporting materials--
        including the facts considered undisputed--show that the movant is
        entitled to it; or



                                                8
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 9 of 20 PageID #: 339



         (4) issue any other appropriate order.1

         “A genuine dispute of material fact exists ‘if the evidence is such that a

  reasonable jury could return a verdict for the nonmoving party.’” See Hefren v.

  McDermott, Inc., 820 F.3d 767, 771 (5th Cir. 2016) (quoting Anderson v. Liberty

  Lobby, Inc., 477 U.S. 242, 248 (1986)). In deciding a motion for summary judgment,

  a court must construe all facts and draw all inferences in the light most favorable to

  the non-movant. See Dillon v. Rogers, 596 F.3d 260, 266 (5th Cir. 2010). However, a

  mere scintilla of evidence is insufficient to defeat a motion for summary judgment.

  See Stewart v. Murphy, 174 F.3d 530, 533 (5th Cir. 1999).

                 2.      Standards governing the qualified immunity defense.

         Defendants assert qualified immunity as a defense. In federal civil rights

  lawsuits, invocation of the qualified immunity defense shifts the burdens of proof for

  public officials’ actions or omissions in the performance of their official duties:

         The defendant official must initially plead his good faith and establish
         that he was acting within the scope of his discretionary authority. Once
         the defendant has done so, the burden shifts to the plaintiff to rebut this
         defense by establishing that the official's allegedly wrongful conduct
         violated clearly established law.

  See Bazan v. Hidalgo County, 246 F.3d 481, 489 (5th Cir. 2001) (citing Salas v.

  Carpenter, 980 F.2d 299, 306 (5th Cir. 1992)).

         The bifurcated test for qualified immunity is: (1) whether the plaintiff has

  alleged a violation of a clearly established constitutional right; and, (2) if so, whether



  1 Local Rule 56.2W (formerly 2.10W) also provides that all material facts set forth in a statement of
  undisputed facts submitted by the moving party will be deemed admitted unless the opposing party
  controverts those facts

                                                   9
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 10 of 20 PageID #: 340



  the defendant’s conduct was objectively unreasonable in the light of the clearly

  established law at the time of the incident. See Hare v. City of Corinth, 135 F.3d 320,

  325 (5th Cir. 1998), and cases cited therein.

        The first step is to determine whether the plaintiff has alleged violation of a

  clearly established constitutional right. This analysis must be conducted under the

  currently applicable constitutional standards.     See Hare, 135 F.3d at 325.        A

  constitutional right is clearly established if, in light of pre-existing law, the

  unlawfulness is apparent.     Officials must observe general, well-developed legal

  principles. See Doe v. Taylor Independent School Dist., 15 F.3d 443, 445 (5th Cir.

  1994), cert. den., 513 U.S. 815 (1994).

        The second prong, objective reasonableness, is a question of law. The analysis

  for objective reasonableness is different from that for deliberate indifference (the

  subjective test for addressing the merits). For qualified immunity, the subjective

  deliberate indifference standard serves only to demonstrate the clearly established

  law in effect at the time of the incident and, under that standard (the minimum

  standard not to be deliberately indifferent), the actions of the individual defendants

  are examined to determine whether, as a matter of law, they were objectively

  unreasonable. Hare, 135 F.3d at 328.

        The qualified immunity doctrine does not protect an official whose subjective

  intent was to harm the plaintiff, regardless of the objective state of the law at the

  time of his conduct. See Douthit v. Jones, 619 F.2d 527, 533 (5th Cir. 1980). A party

  seeking to avoid a qualified immunity defense must prove that the official either



                                            10
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 11 of 20 PageID #: 341



  actually intended to do harm, or took an action which, although not intended to do

  harm, was so likely to produce injury that the harm was substantially certain to

  result. See Douthit, 619 F.2d at 533.

               3.     There are genuine issues of material fact that preclude a
                      summary judgment on James’s FTCA claim.

        The United States contends that James has not stated a claim for negligence

  by Officer LaCroix or Warden Carvajal. The United States argues that, although the

  BOP has a duty to exercise ordinary care, there is no evidence of a breach of that

  duty, or that such breach was the cause in fact or legal cause of James’s injuries.

        In order to recover, a plaintiff must show the Government was negligent in the

  exercise of its responsibilities. Jones v. U.S., 534 F.2d 53, 54 (5th Cir. 1976), cert.

  denied, 429 U.S. 978 (1976). In this case, Louisiana law controls because the incident

  occurred in this state.

        Articles 2315 and 2316 of the Louisiana Civil Code provide that every person

  is responsible for damages caused by fault or negligence. Bursztajn v. U.S., 367 F.3d

  485, 489 (5th Cir. 2004), citing Pitre v. Louisiana Tech Univ., 95-1466 (La. 5/10/96),

  673 So.2d 585, 589. The relevant inquiries are:

        (1) Was the conduct of which the plaintiff complains a cause-in-fact of
        the resulting harm?
        (2) What, if any, duties were owed by the respective parties?
        (3) Were the requisite duties breached?
        (4) Was the risk, and harm caused, within the scope of protection
        afforded by the duty breached?
        (5) Were actual damages sustained?




                                            11
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 12 of 20 PageID #: 342



  If the plaintiff fails to satisfy one of the elements of this “duty-risk” analysis, the

  defendant is not liable. Bursztajn, 367 F.3d at 489 (citing Pitre, 673 So.2d at 589–

  90).

         The new policy and rules for handling inmate complaints of sexual harassment

  and sexual assault leave BOP officers no discretion as to whether to follow those

  procedures. James alleges that LaCroix and Carvajal had a duty to follow those

  procedures for reporting his complaint and securing his safety; a breach of that duty

  by failing to follow those procedures; and James’ resulting injuries when his cellmate

  attacked him the following day.

         Defendants argue there is no evidence that James complained to LaCroix and

  Carvajal. Carvajal states in an affidavit (Doc. 33-5) that he did not sign the SHU

  logbook on June 27, 2015, so he was not there for James to have complained to him.

  However, James contends in his brief (Doc. 40) that he emailed a “cop out” to Carvajal,

  rather than complaining to him directly in the SHU.

         Defendants submitted an unverified statement by LaCroix in which she states:

  “On June 26, 2015 at no time was I ever told by inmate James, Rashod Reg. No.

  22665-045 that he felt his life was in any type of danger” (Doc. 33-5). LaCroix states

  in an affidavit that she does not remember very much about James and does not

  remember him complaining to her about his cellmate (Doc. 33-7). LaCroix states that

  she would not have ignored a compliant that an inmate feared his cellmate, but would

  have referred it for immediate investigation and would have separated the inmates




                                            12
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 13 of 20 PageID #: 343



  (Doc. 33-7). In his brief (Doc. 40), James repeats his contention that he complained

  directly to LaCroix, but she ignored his complaint.

        Although Defendants argue there is no proof that James complained to

  LaCroix and Carvajal, he contends they ignored his complaint, which would explain

  why there is no evidence that he complained. Moreover, the evidence submitted by

  Defendants does not foreclose the possibility that James complained to LaCroix, and

  LaCroix simply does not remember that complaint.

        Since there are genuine issues of material fact as to whether James complained

  to LaCroix and Carvajal about his cellmate’s threats, whether they ignored his

  complaint, and whether they otherwise failed to follow the new rules for dealing with

  inmate complaints of sexual abuse, Defendants’ motion for summary judgment

  should be denied on this issue.

               4.     There are genuine issues of material fact that preclude a
                      summary judgment on James’s Bivens claims against LaCroix
                      and Carvajal.

        James filed Bivens claims against Warden Carvajal, Officer LaCroix, and

  Regional Director John Dee. Under Bivens v. Six Unknown Named Agents of the

  Federal Bureau of Narcotics, 403 U.S. 388 (1971), a plaintiff may recover damages

  for any injuries suffered as a result of federal agents' violations of his constitutional

  rights. A Bivens action is analogous to an action under § 1983, and the Fifth Circuit

  does not distinguish between Bivens and § 1983 claims. See Izen v. Catalina, 393

  F.3d 363, 367 n.3 (5th Cir. 2005). The constitutional torts authorized by each are

  coextensive. Izen, 398 F.3d at 367, n.3.



                                             13
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 14 of 20 PageID #: 344



        For an inmate to succeed on a claim based on a failure to prevent harm, he

  must show that (1) he was incarcerated under conditions posing a substantial risk of

  serious harm, and (2) the prison official was "deliberately indifferent" to his health or

  safety. Failing to act with deliberate indifference to a substantial risk of harm is the

  equivalent of recklessly disregarding that risk. See Farmer v. Brennan, 511 U.S. 825,

  836 (1994). Deliberate indifference is a subjective test, and it must be shown that the

  official actually knew of the risk of harm to the inmate. It is insufficient to show

  solely that the official should have known of the risk. The official must be aware of

  facts from which the inference could be drawn that a substantial risk of serious harm

  exists, and he must also draw that inference. See id. at 837.

        Whether a prison official had the requisite knowledge of a substantial risk is a

  question of fact subject to demonstration in the usual ways, including inference from

  circumstantial evidence. See id. at 841. A fact finder may conclude that a prison

  official knew of a substantial risk from the very fact that the risk was obvious. See

  id. at 842. It remains open to an official to prove that he was unaware of even an

  obvious risk to inmate health and safety. See id. at 844; see also Hinojosa v. Johnson,

  277 Fed.Appx. 370, 374 (5th Cir. 2008). The failure of a prisoner to give any advance

  notice to prison officials of potential danger to the prisoner’s safety is not dispositive

  of the issue of the official’s awareness, see Farmer, 511 U.S. at 848, nor is advance

  notice of a substantial risk of assault posed by a particular fellow prisoner a

  prerequisite, see id. at 849.




                                             14
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 15 of 20 PageID #: 345



        A prison official who actually knew of a substantial risk to inmate health and

  safety may be found free from liability if he responded reasonably to the risk, even if

  the harm ultimately was not averted. See id. at 844.

        James contends that, when he first told Officer LaCroix he was being sexually

  harassed and threatened with assault by his cellmate, she told him she did not care

  and there was no space to move him to, and walked away. James further contends

  he complained of the sexual harassment to both LaCroix and Warden Carvajal the

  next day.    James contends LaCroix and Carvajal ignored his complaints, were

  deliberately indifferent to his situation, failed to protect him, and failed to follow the

  new procedures in place for such complaints.

        James’s constitutional right to not be sexually harassed or assaulted in prison

  was well-established in June 2015.       In 2003, the PREA clearly established the

  Government’s policy and intent to eliminate prison rape. Therefore, the duty of

  prison officials to protect prisoner from sexual harassment and assault was well-

  established in June 2015. However, the BOP rules establishing non-discretionary

  procedures for prison officials to follow when handling sexual abuse complaints went

  into effect on June 24, 2015, two days before the date James contends he complained

  to Officer LaCroix that he was being sexually harassed by his cell mate, three days

  before he contends he complained to Officer LaCroix and Warden Carvajal, and four

  days before he was sexually assaulted by his cell mate.

        The new BOP rules implement mandatory procedures for handling sexual

  abuse complaints and cases. The new rules did not change Defendants’ ongoing duty



                                             15
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 16 of 20 PageID #: 346



  to protect James. See Farmer, 511 U.S. at 836. Therefore, Defendants are not

  entitled to qualified immunity simply because new mandatory procedures were

  implemented for handling sexual abuse complaints. However, assuming Defendants

  were actually aware of James’s situation with his cellmate, the existence of the new

  rules affects the analysis of whether Defendants’ responses to James’s complaints

  were reasonable.

           As previously discussed, there are genuine issues of material fact as to

  whether LaCroix and Carvajal were aware that James was being sexually harassed

  by his cellmate and were deliberately indifferent to the situation. If Defendants

  received James’s complaints and took no action, inaction was arguably so likely to

  produce injury that the harm was substantially certain to result. The new rules

  implementing mandatory procedures for handling such complaints would render

  inaction inherently unreasonable.      Therefore, there are also genuine issues of

  material fact as to whether Defendants are entitled to qualified immunity on this

  issue.

           Defendants’ motion for summary judgment should be denied as to LaCroix and

  Carvajal on James’s Bivens claim for failure to protect him from sexual abuse by his

  cellmate.

                 5.    There are no genuine issues of material fact that preclude a
                       summary judgment on James’s Bivens claims against Warden
                       Carvajal and Regional Director Dee.

           James contends that Warden Carvajal and Regional Director Dee are liable to

  him for failure to properly supervise, train, and discipline the staff at USP-Pollock.



                                            16
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 17 of 20 PageID #: 347



  James alleges that Carvajal and Dee knew USP-Pollock was overcrowded and that

  staff had been routinely written up or sued for deliberate indifference and failing to

  act when they received inmate complaints concerning impending assaults. James

  contends Carvajal and Dee failed to act to enforce BOP policies governing staff

  negligence or indifference.

         The doctrine of respondeat superior–which makes an employer or supervisor

  liable for an employee's alleged tort–is unavailable in suits under 42 U.S.C. §1983

  against an employer/supervisor in his individual capacity. See Thompkins, 828 F.2d

  at 303. Supervisory officials cannot be held vicariously liable for their subordinates’

  actions.   Supervisory officials may be held liable only if: (1) they affirmatively

  participate in acts that cause constitutional deprivation; or (2) implement

  unconstitutional policies that cause injury. See Mouille v. City of Live Oak, Tex., 977

  F.2d 924, 929 (5th Cir. 1992), cert. den., 508 U.S. 951 (1993); Thompkins, 828 F.2d at

  303.

         James has not alleged or shown that Warden Carvajal or Regional Director

  Dee affirmatively participated in Officer LaCroix’s failure to respond to his request

  for protection from a sexual assault. James also has not alleged or shown that

  Carvajal or Dee implemented unconstitutional policies that caused or allowed

  LaCroix to ignore James’s complaint. There are non-discretionary policies in place at

  USP-Pollock for handling complaints of sexual harassment and assault.

         James also contends Carvajal and Dee failed to train LaCroix as to the

  procedures for handling complaints of sexual harassment and assault. A cause of



                                            17
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 18 of 20 PageID #: 348



  action for "failure to train" depends on a showing of (1) a "deliberately indifferent"

  policy of training (2) that was the "closely related" cause of the violation of the

  plaintiff's federally protected rights. See Doe v. Taylor Independent School Dist., 15

  F.3d 443, 453 (5th Cir.), cert. den., 513 U.S. 815 (1994). A plaintiff must prove that

  a deficiency in the training program is closely related to the ultimate injury. See City

  of Canton, Ohio v. Harris, 489 U.S. 378, 391 (1989). Regarding the element of

  causation, an isolated incident is not enough to show that a policy or custom exists.

  Isolated violations are not the persistent, often repeated constant violations that

  constitute custom and policy. In order to be a policy, inadequate training must be a

  product of a conscious choice. See Hood v. Itawamba County, Miss., 819 F.Supp. 556,

  564 (N.D.Miss. 1993) (citing Palmer v. City of San Antonio, 810 F.2d 514, 516 (5th

  Cir. 1987); Grandstaff v. City of Borger, Tex., 767 F.2d 161, 169 (5th Cir. 1985)).

        The existence of a constitutionally deficient policy cannot be inferred from a

  single wrongful act, where the policy relied upon is not itself unconstitutional.

  Thompkins, 828 F.2d at 304. That a particular officer may be unsatisfactorily trained

  will not alone suffice to fasten liability on the policymaker, because the officer's

  shortcomings may have resulted from factors other than a faulty training program.

  City of Canton, Ohio, 489 U.S. at 391.

        James alleges deliberate indifference on the part of Officer LaCroix and

  Warden Carvajal for not adhering to BOP policies and regulations for handling

  inmate complaints of sexual harassment. There is no evidence that other officers at




                                            18
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 19 of 20 PageID #: 349



  USP-Pollock routinely ignored such complaints, to indicate deficient training in

  handling sexual harassment/assault complaints at USP-Pollock.

         Defendants’ motion for summary judgment (Doc. 33) should be granted in favor

  of Carvajal and Dee on James’s Bivens claims that they did not adequately train

  officers at USP-Pollock.

  III.   Conclusion

         Based on the foregoing discussion, IT IS RECOMMENDED that the United

  States’ motion to dismiss and motion for summary judgment (Doc. 33) be DENIED as

  to James’s FTCA claim.

         IT IS ALSO RECOMMENDED that the United States’ motion for summary

  judgment (Doc. 33) be DENIED IN PART as to LaCroix and Carvajal on James’s

  Bivens claim for deliberate indifference to his complaints of sexual harassment.

         IT IS ALSO RECOMMENDED that the United States’ motion for summary

  judgment (Doc. 33) be GRANTED IN PART as to Carvajal and Dee on James’ Bivens

  claim for inadequate training.

         Under the provisions of 28 U.S.C. § 636(b)(1)(c) and Fed.R.Civ.P. 72(b), parties

  aggrieved by this Report and Recommendation have fourteen (14) calendar days from

  service of this Report and Recommendation to file specific, written objections with

  the Clerk of Court. A party may respond to another party’s objections within fourteen

  (14) days after being served with a copy thereof.          No other briefs (such as

  supplemental objections, reply briefs, etc.) may be filed. Providing a courtesy copy of




                                            19
Case 1:16-cv-00138-DDD-JPM Document 50 Filed 04/17/17 Page 20 of 20 PageID #: 350



  the objection to the undersigned is neither required nor encouraged. Timely

  objections will be considered by the District Judge before a final ruling.

        Failure to file written objections to the proposed findings, conclusions, and

  recommendations contained in this Report and Recommendation within fourteen (14)

  days from the date of its service, or within the time frame authorized by Fed.R.Civ.P.

  6(b), shall bar an aggrieved party from attacking either the factual findings or the

  legal conclusions accepted by the District Judge, except upon grounds of plain error.

        THUS DONE AND SIGNED in chambers in Alexandria, Louisiana, this

   17th day of April, 2017.
  _______

                                                        ______________________________
                                                        Joseph H.L. Perez-Montes
                                                        United States Magistrate Judge




                                            20
